                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT


In the matter of:

       Issa Fakhouri,                                  Case No. 13-57147-SWR
                                                       Chapter 13
                        Debtor.   /



              OPINION OVERRULING HOME-OWNERS INSURANCE
            COMPANY’S OBJECTION TO DEBTOR’S CHAPTER 13 PLAN


       The matter before the Court is the Objection of Creditor Home-Owners Insurance

Company (hereinafter referred to as “Home-Owners”) to Debtor’s Chapter 13 Plan. For

the following reasons, Home-Owners’ Objection is overruled. As all other objections to

Debtor’s Plan have been resolved, Debtor’s Chapter 13 Plan is confirmed.



                                       I. FACTS

       On or about February 8, 2011, Home-Owners filed a declaratory judgment action

in state court against debtor, Issa Fakhouri. The suit alleged that Mr. Fakhouri and

members of his family had defrauded Home-Owners Insurance. On December 6, 2011,

Mr. Fakhouri entered into a consent judgment with Home-Owners and agreed to repay

$30,000.00 by making monthly installments in the amount of $500.00 per month.

       On September 13, 2013, Mr. Fakhouri (hereinafter referred to as “Debtor”) filed a

voluntary petition under Chapter 13 of the Bankruptcy Code. On September 16, 2013,

the Court issued its “Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, and

Deadlines.” That notice set December 24, 2013 as the deadline for filing objections to




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discharge or to challenge the dischargeability of a debt. At the time the petition was

filed, Debtor had reduced the balance owed to Home-Owners to $16,811.37.

       On October 2, 2013, Debtor filed his schedules, his proposed Chapter 13 Plan

and his Chapter 13 Statement of Current Monthly and Disposable Income. Debtor’s

schedules state that Debtor is single with net disposable income of $2,615.00 per month

and monthly expenses of $2,315.50.1 His monthly expenses include $625.00 per month

for rent, $275.00 per month for food, and $299.00 per month for a car payment.

Schedule E (Priority Unsecured Debt) states a balance owed to the Internal Revenue

Service in the amount of $14,466.98, of which $3,025.76 is a priority unsecured claim.

Debtor’s Schedule F (Unsecured Debt) lists debt in the amount of $57,149.60, including

the balance owed to Home-Owners.

       Debtor’s original Plan proposed paying Home-Owners $300.00 per month for 60

months. On January 3, 2014, Debtor filed his First Amended Plan of Reorganization.

The amended plan increased the monthly plan payment to Home-Owners to $350.00

per month for 60 months. It also proposed paying the priority claim of the IRS in full,

attorney fees in the estimated amount of $4,000.00 ($2,800.00 to be paid through the

Plan) and the balance of the plan payments to unsecured creditors.

       On January 6, 2014, Creditor Home-Owners filed an Objection to Debtor’s

Amended Plan. Home-Owners objected to confirmation on the grounds that Debtor’s



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         Debtor’s gross monthly income as reflected on Schedule I is $3,570; his current monthly
income as reflected in his Chapter 13 Statement of Current Monthly Income (the B22C form) is
$4,515.00. The discrepancy is explained on Line 57 of the B22C form where Debtor states that
his monthly income declined from the 6 month average reflected on the B22C form because of a
“loss of work hours” resulting in $945 less income per month.

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plan was not proposed in good faith as required by 11 U.S.C. § 1325(a)(3).

       On January 14, 2014, the Chapter 13 Trustee filed Supplemental Objections to

Debtor’s Chapter 13 Plan.

       On January 29, 2014, the Court held a hearing on confirmation of Debtor’s Plan

of Reorganization. At the hearing, the Chapter 13 Trustee stated that Debtor agreed to

increase his monthly plan payments to $434.00, which resolved the Trustee’s objection

to confirmation of Debtor’s Plan of Reorganization. However, Home-Owners objected

to confirmation on the grounds that Debtor’s Plan was not filed in good faith. At the

conclusion of the hearing, the Court requested that Debtor file a brief in support of

Debtor’s argument that his Plan had been proposed in good faith and should, therefore,

be confirmed. On February 5, 2014, Debtor filed his brief.



                                  II. LEGAL ANALYSIS

       11 U.S.C. § 1325(a) lists the requirements for confirming a debtor’s Chapter 13

Plan of Reorganization. Home-Owners objects to confirmation of Debtor’s Plan

pursuant to 11 U.S.C. § 1325(a)(3). The objecting party has the initial burden of

producing evidence in support of an objection. In re Henry, 328 B.R. 529, 538 (Bankr.

S.D. Ohio 2004). The debtors have the ultimate burden of proof to show that the

requirements of 11 U.S.C. § 1325 have been met. Id.; In re Hogue 78 B.R. 867, 872

(Bankr. S.D. Ohio 1987); In re Carver, 110 B.R. 305, 311 (Bankr. S.D. Ohio 1990)

(Cole, J.). See also Hardin v. Caldwell (In re Caldwell) 895. F.2d 1123, 1126 (6th Cir.

1990) (“Caldwell II”); Ed Schory & Sons, Inc. v. Francis (In re Francis), 273 B.R. 87, 91

(6th Cir. BAP 2002).

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       Pursuant to 11 U.S.C. § 1325(a)(3), a debtor’s plan of reorganization must be

proposed in good faith. The factors to be used in evaluating a debtor’s good faith are

set forth in Hardin v. Caldwell (In re Caldwell), 895 F.2d 1123 (6th Cir. 1990). Those

factors are:

               (1) the amount of the proposed payments and the amount of
               the debtor’s surplus;

               (2) the debtor’s employment history, ability to earn and
               likelihood of future increase in income;

               (3) the probable or expected duration of the plan;

               (4) the accuracy of the plan’s statements of the debts,
               expenses and percentage repayment of unsecured debt and
               whether any inaccuracies are an attempt to mislead the
               court;

               (5) the extent of preferential treatment between classes of
               creditors;

               (6) the extent to which secured claims are modified;

               (7) the type of debt sought to be discharged and whether
               any such debt is nondischargeable in Chapter 7;

               (8) the existence of special circumstances such as inordinate
               medical expenses;

               (9) the frequency with which the debtor has sought relief
               under the Bankruptcy Reform Act;

               (10) the motivation and sincerity of the debtor in seeking
               Chapter 13 relief;

               (11) the burden which the plan’s administration would place
               upon the trustee; and,

               (12) whether the debtor is attempting to abuse the spirit of
               the Bankruptcy Code.

Caldwell, 895 F.2d at 1126-1127. Home-Owners argues that many of the above factors

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weigh against a finding that Debtor filed his plan in good faith.

       A.     Accuracy of Debtor’s Claimed Income and Expenses

       First, Home-Owners argues that Debtor could be committing significantly more

income to the Plan. Home-Owners argument is not supported by either Debtor’s

B22(C) form (which allows a debtor to subtract standardized expenses from debtor’s

current monthly income) or by Debtor’s Schedule I and J. 2 Using the standardized

deductions allowed by 11 U.S.C. § 707(b)(2), Debtor’s B22(C) form states that Debtor

has only $110.31 available each month to fund a Chapter 13 plan. (Line 59, B22(C)

Form). If the Court relies on Debtor’s Schedules I and J, Debtor has $300.00 per month

to fund his Chapter 13 Plan. In order to satisfy the Trustee’s concerns that Debtor

underestimated his income, Debtor has agreed to increase his plan payment to $434.00

per month. Home-Owners does not dispute that Debtor’s income has declined, nor does

Home-Owners argue that any of the actual expenses listed on Debtor’s Schedule J are

excessive. Based on Debtor’s B22(C) form, Debtor’s Schedules I and J, and the

increase in Debtor’s monthly payment, the Court finds that Debtor is committing his

maximum projected disposable income to the plan as required by 11 U.S.C. §

1325(b)(1)(B).

B.     Attorney Fees.

       Home Owners also takes issue with the proposed attorney fees and Trustee’s

fees in the instant case, arguing that the fees are excessive. The fee owed to the

Chapter 13 Trustee is required by statute is not subject to challenge. Based on the


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          Current monthly income is the average of Debtor’s income for the six months preceding
the filing of the case.

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worksheet attached to Debtor’s Plan of Reorganization, Debtor’s estimated pre-

confirmation fees are $2,800 and his estimated post-confirmation fees are $1,500.

While Home-Owners is correct that these fees will reduce the amount available to

unsecured creditors, the Court finds that the proposed attorney fee is not an indication

of a lack of good faith.

       Pursuant to 11 U.S.C. § 330(a)(1(A) attorneys are entitled to reasonable

compensation for actual, necessary services. The Court notes that in this district, an

attorney may request a pre-confirmation fee of up to $3,500 in a Chapter 13 case

without filing a fee application. E.D. Mich. LBR 2016-1(c). Pre-confirmation attorney

fees in this case (to be paid though the plan) are $2,800, an amount less than the

amount determined to be presumptively reasonable. Nor is it unreasonable for Debtor’s

counsel to estimate that his post-confirmation fee will be $1,500. Debtor’s plan is

proposed as a five year plan; there may well be unanticipated events which will

necessitate a plan modification. Debtor’s counsel’s proactive estimation of future fees

does not support an argument that Debtor’s plan was not proposed in good faith.

       Home-Owners’ reliance on In re Smith, 328 B.R. 797 (Bankr. W.D.Mo. 2005) is

misplaced. In Smith, debtor’s total proposed plan payments amounted to $1,800, the

proposed attorney fee was $1,000. Certainly when the proposed attorney fee is more

than 50% of the payments proposed by a debtor, there may be an issue of good faith.

However, those facts are not present in the instant case.

       C.     Debtor’s Sincerity in Filing his Chapter 13 Case

       Home-Owners also questions Debtor’s sincerity in filing a Chapter 13 bankruptcy.

Home-Owners concedes that Debtor made payment on his debt to Home-Owners for 2

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years prior to filing for bankruptcy reducing his debt from $30,000 to $16,000. Debtor

has several debts in addition to the balance owed to Home-Owners. He owes

$14,441.22 to the IRS, $18,000 to a creditor Capital One Commercial Group, Inc., and

deficiency balances on two cars totaling $16,643.60. Debtor was making payments on

his debts until he suffered a significant drop in income (see footnote 1).

       On these facts, the Court finds that Debtor’s filing of his Chapter 13 case was

necessitated by a decrease in income, which prevented him from paying his outstanding

debts, including the debt he had been paying regularly to Home-Owners. There is no

bad faith motive in filing a Chapter 13 under such circumstances.

       D.     Debtor’s Choice to File a Chapter 13 Case

       Lastly, Home-Owners argues that the debt owed by Debtor to Home-Owners,

could not have been discharged in a Chapter 7 case because the debt was incurred by

fraud and, therefore, Debtor’s choice to file a Chapter 13 is indicative of bad faith. The

Court finds Home Owners’ argument unpersuasive for two reasons. First, there has

never been a judicial finding that Debtor committed fraud. Second, there has been a

significant change in bankruptcy law since the Caldwell case was decided.

       Prior to the enactment of BAPCPA in 2005, debts incurred by fraud could be

discharged in a Chapter 13 case, but not discharged in a Chapter 7 case. The

difference in the discharge provisions of Chapter 7 and Chapter 13 often caused

debtors with outstanding debts incurred by fraud to choose a Chapter 13 case over a

Chapter 7 case. However, BAPCPA amended the discharge provisions for Chapter 13

cases to provide that debts incurred through fraud could no longer be discharged in a

Chapter 13 case. See 11 U.S.C. § 1328(a)(2). Since 11 U.S.C. § 1328 was amended,

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creditors holding claims which resulted from the fraudulent conduct of the debtor have

an identical remedy whether the case is filed as a Chapter 7 or a Chapter 13 case. The

creditor’s remedy is to file a nondischargeability action to block the discharge of the

debt. Pursuant to Fed. R. Bank. P. 4007(c) such action must be filed within sixty (60)

days of the first meeting of creditors.

       In the instance case, had Home-Owners wanted to block the discharge of the

debt owed to it on the grounds that the debt was incurred by fraud, Home-Owners could

have done do. Home-Owners had the same right to block Debtor’s discharge of the

debt as Home-Owners would have had if Debtor had elected to file a Chapter 7 case.

Home-Owners chose not to file such an action by the December 24, 2013 deadline, and

cannot now argue its choice demonstrates a lack of good faith by Debtor.

       E.     Remaining Caldwell Factors

       The other factors used for analyzing a debtor’s good faith under 11 U.S.C.

§ 1325(a)(3) are not relevant to this case. As set forth above, when the relevant

Caldwell factors are applied to the facts of this case, Home-Owners has not met its

burden of producing evidence to support its objection that Debtor’s case was not filed in

good faith. Home-Owners’ objection to Debtor’s Plan is overruled.




                                          III. Conclusion

       For the reasons set forth above, Home-Owners’ objection to Debtor’s Chapter 13

Plan is overruled. Debtor’s Chapter 13 Plan of Reorganization is confirmed. Debtor

shall present an Order Confirming Plan to the Chapter 13 Trustee on or before February

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12, 2014. The hearing scheduled for February 12, 2014 is cancelled.
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Signed on February 07, 2014




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